~AO 245D
            Case    4:95-cr-40083-JPG Document 416 Filed 07/06/10
              (Rev. 12/07) Judgment in a Criminal Case for Revocations
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              Sheet I                                                  #362

                                     UNITED STATES DISTRICT COURT
                                                     Southern District of Illinois

        UNITED STATES OF AMERICA                                     Judgment in a Criminal Case
                             v.                                      (For Revocation of Probation or Supervised Release)
                BOBBY PURDIMAN

                                                                     Case No. 4:95CR40083-007-JPG
                                                                     USM No. 03668-025
                                                                      Melissa A. Day, AFPD
THE DEFENDANT:
~ admitted guilt to violation of condition(s)       as alleged in petition
o was found in violation of condition(s)
The defendant is adjudicated guilty of these violations:

Violation Number             Nature of Violation                                                          Violation Ended
Statutory                         The defendant committed the offense of false statements                 04/06/2010



statutory                         The defendant tested positive for marijuana



       The defendant is sentenced as provided in pages 2 through _---'3;....-._ of this judgment. The sentence is imposed pursuant to
the Sentencing Refonn Act of 1984.
o The defendant has not violated condition(s) _ _ _ _ _ _ _ and is discharged as to such violation(s) condition.
          It is ordered that the defendant must notify the United States attorney for this district within 30 days of any
change of name, residence, or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are
fully paid. If ordered to pay restitution, the defendant must notify the court and United States attorney of material changes ill
economic circumstances.

Last Four Digits of Defendant's Soc. Sec. No.: 9053                   06/30/2010
                                                                                         Date of Imposition of Judgment




                                                                                 ~~
Defendant's Year of Birth:          1976

City and State of Defendant's Residence:
Cairo, IL 62914
                                                                      J. Phil Gilbert                             District Judge
                                                                                            Name and Title of Judge
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                                                     ADDITIONAL VIOLATIONS

                                                                                                                       Violation
Violation Number              Nature of Violation                                                                      Concluded
Standard # 2                  The defendant failed to submit written reports                                           01/31/2010



Standard # 3                  The defndant failed to provide truthful information to his probation officer             03/11/2010



Standard # 6                  The defendant failed to notify probation of termination of his employment                05/17/2009



Standard # 11                 The defendant failed to notify probation within 72 hours of being questionedl            03/25/2010



Special                       The defendant failed to report for drug treatment as directed by probation               02/24/2010
                              I

Special                       The defendant was unaccountable while on home confinement.                               08/26/2009
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                                                                  IMPRISONMENT

          The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a total
 total term of :
24 months




      o The court makes the following recommendations to the Bureau of Prisons:



      o The defendant is remanded to the custody of the United States Marshal.
      o The defendant shall surrender to the United States Marshal for this district:
        o at _ _ _ _ _ _ _ _ _ 0 a.m. o p.m. on
        o as notified by the United States Marshal.
      o The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:
        o before 2 p.m. on
        o as notified by the United States Marshal.
        o as notified by the Probation or Pretrial Services Office.
                                                                         RETURN

 I have executed this judgment as follows:




           Defendant delivered on                                                  to

 at   _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ with a certified copy of this judgment.




                                                                                           UNITED STATES MARSHAL


                                                                            By
                                                                                        DEPUTY UNITED STATES MARSHAL
